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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 BARBARA J. LEE et al.,                              Case No. 21-cv-00400 (APM) (lead case)
                        Plaintiffs,                  Consolidated with Case Nos.
                                                             21-cv-00586 (APM)
                v.                                           21-cv-00858 (APM)
 DONALD J. TRUMP et al.,                                     21-cv-02265 (APM)
                                                             22-cv-00010 (APM)
                        Defendants.                          22-cv-00011 (APM)
                                                             22-cv-00034 (APM)
                                                             23-cv-00038 (APM)


        OPPOSITION TO DEFENDANT’S MOTION FOR RECONSIDERATION

       Plaintiffs provide the following response in opposition to Defendant Trump’s October 20,

2024 motion for reconsideration of the Court’s October 16, 2024 Order regarding interrogatories:

       First, Defendant’s motion does not address the Court’s primary reason for permitting Plain-

tiffs to designate up to 20 more interrogatories: “[T]he court consolidated immunity discovery

across eight cases, so a total limit of 25 interrogatories for Plaintiffs collectively would not be

appropriate.” Plaintiffs maintain that they should still be permitted 20 interrogatories in addition

to the 92 interrogatory responses already provided, given the number of individual cases that have

been consolidated.

       Second, while Defendant had previously raised an objection regarding the number of in-

terrogatories, he did so alongside other general objections and did not stand on that objection until

well into discovery. Defendant continued to provide responses regarding his denials of requests

for admission until September 13, 2024, after providing interrogatory responses regarding three

sets of requests for admission totaling 92 interrogatory responses. Defendant refused to respond

to any more interrogatories after being provided with contention interrogatories on August 1, 2024.

These interrogatories largely mirror Defendant’s contention interrogatories to which Plaintiffs
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have already responded, and Plaintiffs belief it is wholly appropriate that Defendant respond to

these as well.



Dated: October 21, 2024

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                              CERTIFICATE OF SERVICE



       I certify that on October 21, 2024, a true and correct copy of “Opposition to
Defendant’s Motion for Reconsideration” was served on counsel of record by the Clerk of the
Court through the CM/ECF system.



                                         /s/ Joseph M. Sellers
